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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN

JEREMY GUSLOFF,

                           Plaintiff,                         OPINION AND ORDER
      v.
                                                                   21-cv-662-wmc
QUINCY BIOSCIENCE HOLDING COMPANY,

                           Defendant.


      On behalf of himself and similarly situated employees, plaintiff Jeremy Gusloff filed

this lawsuit against his employer defendant Quincy Bioscience Holding Company,

asserting claims under the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et seq., and

violations of the Wisconsin Wage Payment and Collection Act, Wis. Stat. § 109.01 et seq.,

based on defendant’s alleged failure to pay overtime for hours worked over 40 hours per

week. (Compl. (dkt. #1).) After filing the lawsuit, two other employees, Drew Haack and

Cole Jordan, submitted consent forms, opting into the FLSA collective action. (Dkt. ##11,

12.) Before the court is the parties’ joint motion to approve their settlement of the FLSA

claims as to these three individuals, which the court will refer to collectively as “the

plaintiffs.” (Dkt. #17.) For the reasons that follow, the court will grant the motion,

finding that the settlement was a reasonable compromise.

      The FLSA bars settlements that “establish sub-minimum wages.” Walton v. United

Consumers Club, 786 F.2d 303, 306 (7th Cir. 1986) (“[T]he Fair Labor Standards Act is

designed to prevent consenting adults from transaction about minimum wages and

overtime pay. Once the Act makes it impossible to agree on the amount of pay, it is

necessary to ban private settlements of disputes about pay. Otherwise the parties’ ability
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to settle disputes would allow them to establish sub-minimum wages.”). In approving a

settlement, the court must determine whether the settlement’s terms and conditions

represent “a fair and reasonable resolution of a bona fide dispute over FLSA provisions”

and reflect a “compromise of disputed issues [rather] than a mere waiver of statutory rights

brought about by an employer’s overreaching.” Lynn’s Food Stores, Inc. v. U.S. Dept. of Labor,

679 F.2d 1350, 1354-55 (11th Cir. 1982).

       The parties explain that after plaintiff Gusloff filed the present lawsuit, defendant

conducted an internal audit of the wages that it had paid its employees, who are members

of the putative class and collective actions in this lawsuit. (Piefer Decl. (dkt. #20) ¶ 3.)

As a result of the audit, defendant included commissions in calculating its employees’

regular rates of pay, then calculated the overtime premium based on those amounts, and

made payments to its employees, including the plaintiffs, largely mooting the legal

challenge. (Id.)

       As a result of these payments, the parties engaged in arm’s length, good-faith

settlement negotiations, and settled on an agreement that (1) provides additional

payments to the three plaintiffs, part of which represents liquidated damages and an

additional amount to compensate them for a global release of their employment-related

claims, including any state law claims, and (2) pays plaintiffs’ counsel $7,000 in fees and

costs. Including the amount plaintiffs received as a result of the audit, Gusloff will receive

$8,500; Drew Hack will receive $6,633.18; and Cole Jordan will receive $4,538,45.

(Zoeller Decl., Ex. A (Settlement Agreement) (dkt. #19-1) 4.) These payments “represent

full payment of any wages and liquidated damages that could have been claimed through


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this Lawsuit, plus an additional amount to secure a full release of claims.” (Id.) The court

agrees with the parties that this settlement of the three plaintiffs’ claims is a fair and

reasonable resolution of the parties’ bona fide dispute under the FLSA.

       Plaintiffs’ counsel also submitted records, showing that attorneys spent 45.40 hour

on this case, representing $11,945.00 in fees, assuming hourly rates of $100 to $325, with

the bulk of the time billed out at $250 per hour. (Id., Ex. B (dkt. #19-2).) As a result of

these records, the court further concludes that the agreed-upon fee request of $7,000,

especially in light of the significant awards to the three named plaintiffs, is fair and

reasonable.



                                         ORDER

       Accordingly, IT IS ORDERED that

       1) The parties’ joint motion to approve settlement agreement (dkt. #17) is
          GRANTED.

       2) Counsel for plaintiff Jeremy Gusloff is AWARDED $7,000 in attorneys’ fees and
          costs.

       3) The lawsuit is DISMISED             WITH     PREJUDICE       AND     WITHOUT
          ADDITIONAL COSTS.

       Entered this 8th day of April, 2022.

                                          BY THE COURT:


                                          /s/
                                          __________________________________
                                          WILLIAM M. CONLEY
                                          District Judge




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